Case 1:19-cr-00395-BAH Document 50-1 Filed 07/01/20 Page 1 of 3




                Exhibit A
          Case 1:19-cr-00395-BAH Document 50-1 Filed 07/01/20 Page 2 of 3


                             DEPARTMENT OF THE TREASURY
                                Internal Revenue Service
                                  Criminal Investigation

                              Memorandum of Conversation

Investigation #:                            Location:         Via Telephone
Investigation Name: Larry Harmon
Date:               May 18, 2020
Time:               Approx. 1500-1510
Participant(s):
                    Matt Price, Special Agent
                    Devon Beckett, Special Agent




   On the above date and time IRS-CI Special Agents Matt Price and Devon Beckett
   spoke with             via telephone.           had contacted SA Price via text
   message on May 17, 2020 to advise he needed to speak with SA Price. SA Beckett
   was conferenced into the call however SAs did not advise         that she was also
   on the phone.         provided the following information:

   1.            believes Larry Harmon’s brother Gary Harmon is responsible for moving
        approximately 7 million dollars in bitcoin that belonged to Larry Harmon.
        According to           Gary Harmon called him last week and asked for advice on
        using online bitcoin gambling services.            believes based upon the nature of
        Gary Harmon’s questions that Gary Harmon was seeking advice on how to use
        bitcoin gambling services to mix bitcoin that he took from Larry Harmon.

   2.           believes Gary Harmon is the only person other than Larry Harmon that has
        access to the seed words needed to reconstitute wallets seized by the
        government.            has spoken to Larry Harmon who adamantly denies that he
        is responsible for moving the bitcoin. According to        Larry Harmon believes
        his brother is the person who moved the bitcoin and Larry Harmon is no longer
        speaking with Gary Harmon as a result.

   3.            believes Larry Harmon would not have moved the bitcoin because it would
        “be stupid” on his part, especially since he was under house arrest.          also
        believes it was not in Larry Harmon’s interest to move the bitcoin himself because
        Larry Harmon was aware his only leverage in his criminal case were his large
        bitcoin holdings.

   4.            believes Gary Harmon is not the “sharpest tool in the shed” and did not
        think through the potential consequences for his brother before he transferred the
        bitcoin.

                                 Memorandum Page 1 of                      U.S. Treasury Criminal Investigation
   2

                                                                                  IRS_000001
           Case 1:19-cr-00395-BAH Document 50-1 Filed 07/01/20 Page 3 of 3



    5.            did not tell Larry Harmon, Larry’s attorney or any other member of the
         Harmon family that he was planning to contact SA Price.             said he did not
         plan to tell anyone he had talked to SA Price.

    6.            offered to work with SA Price to help recover the bitcoin Gary Harmon
         took.          advised he could offer to help Gary Harmon tumble the bitcoin. SA
         Price advised          that SA Price would have to consult with the United States
         Attorney’s Office and that         should not take any action without the express
         direction with SA Price.         acknowledged that he understood.

    The phone call ended at approximately 1510 hours.



    I prepared this memorandum on May 19, 2020, after refreshing my memory from notes
    made during and immediately after the phone call with




                                                        Matt Price
                                                        Special Agent




                               Memorandum Page 2 of                     U.S. Treasury Criminal Investigation
2

                                                                                    IRS_000002
